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Nunez Independent Monitor




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Introduction

        This report is the first filed by the Monitoring Team since the Action Plan was ordered by

the Court on June 14, 2022 (dkt. 465), just three weeks ago. The jails remain dangerous and

unsafe, and the conditions are volatile. While some progress has been made in addressing staff

absenteeism and the conditions at RNDC, and the Commissioner is in the process of overhauling

the Department’s leadership structure, and the Trials Division is processing more disciplinary

cases than ever before, the overall situation in the jails remains chaotic and incidents involving

serious harm and tragic fatalities are all too frequent. This year alone, nine incarcerated

individuals have died.

        This report provides an overview of the Action Plan, a summary of the current state of

affairs, and a discussion about the Department’s efforts to address the staff disciplinary backlog.

Given that the Action Plan has only been in effect for less than three weeks, a comprehensive

analysis of each provision of the Action Plan is premature. Instead, the goal of this report is to

provide an update on the conditions that gave rise to the Action Plan and the Third Remedial

Order. These conditions include Department leadership, staff absenteeism, the use of force and

level of violence, and the current status of several jails where dangerous conditions warrant

heightened scrutiny. The final section of this report discusses the Department’s recent efforts to

process the staff disciplinary backlog.

        In addition, an Appendix to this report provides trend data on key outcomes over the prior

six years, 2016 through 2021. These data illustrate the conditions at the time the Consent

Judgment went into effect through the apex of the current crisis. This data provides a useful

context for the more recent qualitative and quantitative data that is discussed throughout the

narrative section of this report.




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